USCA4 Appeal: 23-4352    Doc: 54        Filed: 10/08/2024     Pg: 1 of 1




                                                                     FILED: October 8, 2024


                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT

                                     ___________________

                                           No. 23-4352
                                     (3:22-cr-00073-TLW-1)
                                     ___________________

        UNITED STATES OF AMERICA

                     Plaintiff - Appellee

        v.

        MAGGIE ANNE BOLER

                     Defendant - Appellant

                                     ___________________

                                          ORDER
                                     ___________________

              The court amends its opinion filed August 23, 2024, as follows:

              In the first line of page 13, the word “cannons” is replaced with “canons.”

                                              For the Court

                                              /s/ Nwamaka Anowi, Clerk
